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 Attorney or Party Name, Address, Telephone & FAX                              FOR COURT USE ONLY
 Nos., State Bar No. & Email Address

 MICHAEL JAY BERGER (State Bar # 100291)
 LAW OFFICES OF MICHAEL JAY BERGER                                                                         FILED & ENTERED
 9454 Wilshire Boulevard, 6th Floor
 Beverly Hills, California 90212
 T: (310) 271.6223 |                                                                                               MAR 01 2024
 F: (310) 271.9805
 E: Michael.Berger@bankruptcypower.com                                                                       CLERK U.S. BANKRUPTCY COURT
                                                                                                             Central District of California
 Proposed Counsel for Debtor-in-Possession                                                                   BY Cetulio DEPUTY CLERK

 Mr. Tortilla, Inc.



      Individual appearing without attorney
      Attorney for: Mr. Tortilla, Inc.

                                        UNITED STATES BANKRUPTCY COURT
                         CENTRAL DISTRICT OF CALIFORNIA ⎯ SAN FERNANDO VALLEY DIVISION

 In re:                                                                        CASE NO.: 1:24-bk-10228-VK
                                                                               CHAPTER: 11


 Mr. Tortilla, Inc.                                                                ORDER RE NOTICE OF MOTION AND
                                                                                MOTION IN INDIVIDUAL CHAPTER 11 CASE
                                                                                 FOR ORDER AUTHORIZING DEBTOR TO
                                                                                  PROVIDE ADEQUATE ASSURANCE OF
                                                                                PAYMENT TO UTILITY SERVICE PROVIDERS
                                                                                            [11 U.S.C. § 366]

                                                                               DATE: February 29, 2024
                                                                               TIME: 1:30 p.m.
                                                                               COURTROOM: 301
                                                                               ADDRESS: 21041 Burbank Blvd.,
                                                                               Woodland Hills, CA 90212

                                                                Debtor(s)

1. The Motion was:                     Opposed                  Unopposed                   Settled by stipulation

2. Appearances are stated in the court record.

3. Based upon the findings and conclusions made at the hearing, IT IS ORDERED THAT:

          The Motion is granted pursuant to 11 U.S.C. § 366.

          The Motion is denied.




            This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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4. IT IS FURTHER ORDERED THAT: The Debtor is authorized to provide adequate assurance of payment to utility
   service providers as indicated in the Motion.


5.      Other:



                                                                            ###




                   Date: March 1, 2024




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